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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE: BRADLEY J. JACOBS, JR.                                        CHAPTER 13
       BRITTANY DAWN JACOBS

DEBTORS                                                              CASE NO. 23-10003 JDW

               RESPONSE TO LIBERTY FINANCE COMPANY, INC.’S
              MOTION TO PAY ADMINISTRATIVE EXPENSES [DKT. #21]

        COME NOW, Bradley J. Jacobs, Jr. and Brittany Dawn Jacobs, Debtors, by and

through their attorney of record, and files this response to the motion filed by Liberty Finance

Company, Inc. (“Creditor”), and would respectfully state unto the Court as follows, to-wit:

        1.     The Debtors admit the allegations contained in Paragraph 1.

        2.     The Debtors neither admit nor deny the allegations contained in Paragraph 2.

        3.     The Debtors deny the allegations contained in Paragraph 3 and would state the

               Creditor should file a Notice of Post-petition Mortgage Fees, Charges and Expense,

               and only allowed to recover expenses incurred with 180 days prior to date of notice

               pursuant to Federal Rules of Bankruptcy Procedure, R 3002.1 (c). Debtors deny this

               claim is an administrative claim and the Creditor has failed to prove otherwise.

        9.     The Debtors deny the allegations contained in the Paragraph beginning

“WHEREFORE, PREMISES CONSIDERED”, and continuing to the end of the motion.

        WHEREFORE, PREMISES CONSIDERED, Debtors request that this Honorable Court

will deny the motion filed herein by R. Adam Kirk on behalf of Liberty Finance Company, Inc,

(“Creditor”) filed herein and for such other, further and general relief to which the Debtors may be

entitled.

        Respectfully Submitted, this the 20th day of June, 2023.

                                              /s/Robert H. Lomenick
                                              KAREN B. SCHNELLER, MSB 6558
                                              ROBERT H. LOMENICK, JR., MSB 104186
                                              SCHNELLER & LOMENICK, P.A.
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                                CERTIFICATE OF SERVICE

       I, Robert H. Lomenick, attorney for Debtor(s), do hereby certify that I have this day
forwarded by electronic means or via United States Mail, postage prepaid, of the above and
foregoing Response to the following:

Daly • Kirk, PLLC
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Attorney for Liberty Finance Company, Inc.

United States Trustee
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Jackson, Mississippi 39201

Ms. Locke D. Barkley
6360 I 55 North, Suite 140
Jackson, MS 39211

Dated: June 20, 2023

                                             /s/Robert H. Lomenick
                                             ROBERT H. LOMENICK, JR.
